8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69     Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  GREENWOOD DIVISION

Jerrold A. Watson & Sons, L.L.C., d/b/a      )
Watsonia Farms,                              )       C.A. No. 8:16-2833-HMH
                                             )
                      Plaintiff,             )
                                             )
               vs.                           )        OPINION & ORDER
                                             )
C.H. Robinson Company d/b/a Robinson         )
Fresh,                                       )
                                             )
                      Defendant.             )

       This matter is before the court on the motions of C.H. Robinson Company d/b/a

Robinson Fresh (“Robinson Fresh”) for summary judgment. For the reasons set forth below, the

court grants Robinson Fresh’s motions for summary judgment.

                          I. FACTUAL AND PROCEDURAL BACKGROUND

       This case arises out of an April 2015 Marketing Agreement (“Agreement”) between

Robinson Fresh and Jerrold A. Watson & Sons, L.L.C. d/b/a Watsonia Farms (“Watsonia”) for

Robinson Fresh to market and sell organic produce grown by Watsonia. (Mem. Supp. Mot.

Summ. J. 1, ECF No. 45-1.) The Agreement required Robinson Fresh to market Watsonia’s

produce to new customers and, in the event the parties agreed upon a price, to purchase certain

minimum volumes per week. (Id. Ex. 1 (Marketing Agreement Ex. B), ECF No. 45-2.)

Robinson Fresh alleges that it was unable to sell Watsonia’s produce because the parties could

not agree upon a price and Watsonia failed to timely complete an annual food safety audit. (Id.

at 2, 6, ECF No. 45-1.)




                                                 1
8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69       Page 2 of 14




       Watsonia alleges that Robinson Fresh never objected to the prices for the produce and

raised the issue of the annual food safety audit in an effort to force Watsonia into allowing

Robinson Fresh to market to Watsonia’s existing customers, which was forbidden by the

Agreement. (Resp. Opp’n Mot. Summ. J. 6, 8, 11, ECF No. 50.) (Mot. Summ. J. Ex. 1

(Marketing Agreement 3), ECF No. 45-2.) Further, Watsonia alleges that Robinson Fresh did

not raise the issue of the annual food safety audit until early June 2015, two months after the

parties entered into the Agreement. (Resp. Opp’n Mot. Summ. J. 8, ECF No. 50.) Ultimately,

Robinson Fresh sold produce to only one customer, Market Basket, an existing customer of

Watsonia in late September 2015. (Id. at 5, ECF No. 50.) Watsonia had Robinson Fresh’s

permission to contact Market Basket. (Id., ECF No. 50.)

       In December 2015, Watsonia sent Robinson Fresh a letter demanding that Robinson

Fresh pay a portion of the costs associated with additional acres that Watsonia had planted for

the 2015 harvest based upon Robinson Fresh’s failure to buy its produce. (Mem. Supp. Mot.

Summ. J. 7, ECF No. 45-1.) Robinson Fresh refused, alleging it was not required to do so by

the Agreement. (Id., ECF No. 45-1.)

       On July 26, 2016, Watsonia filed the instant case in the Court of Common Pleas of

Saluda County, South Carolina, alleging claims for breach of contract, breach of contract

accompanied by fraudulent act, and violation of the South Carolina Unfair Trade Practices Act

(“SCUTPA”). (Not. Removal Ex. 1 (State Ct. Docs. 6-12), ECF No. 1-1.) Robinson Fresh

removed the action to this court on the basis of diversity jurisdiction on August 15, 2016. (Id. at

2, ECF No. 1.) Robinson Fresh filed the instant motion for summary judgment on July 19,

2017. (Mot. Summ. J., ECF No. 45.) Watsonia responded in opposition on August 3, 2017.


                                                 2
8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69        Page 3 of 14




(Resp. Opp’n Mot. Summ. J., ECF No. 50.) Robinson Fresh replied on August 9, 2017. (Reply

Supp. Mot. Summ. J., ECF No. 52.) Watsonia amended its complaint to add a negligent

misrepresentation claim on August 11, 2017. (Am. Compl., ECF No. 55.) Robinson Fresh filed

an answer to the amended complaint on August 17, 2017. (Answer, ECF No. 57.) Robinson

Fresh filed a motion for summary judgment on the negligent misrepresentation claim on

September 6, 2017. (Mot. Summ. J., ECF No. 63.) Watsonia responded in opposition on

September 15, 2017. (Resp. Opp’n Mot. Summ. J., ECF No. 66.) Robinson Fresh replied on

September 20, 2017. (Reply Supp. Mot. Summ. J., ECF No. 67.) This matter is ripe for

consideration.

                                   II. DISCUSSION OF THE LAW

                               A. Summary Judgment Standard

       Summary judgment is appropriate only “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). In deciding whether a genuine issue of material fact exists, the evidence of the

non-moving party is to be believed and all justifiable inferences must be drawn in his favor. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). However, “[o]nly disputes over

facts that might affect the outcome of the suit under the governing law will properly preclude the

entry of summary judgment. Factual disputes that are irrelevant or unnecessary will not be

counted.” Id. at 248.

       A litigant “cannot create a genuine issue of material fact through mere speculation or the

building of one inference upon another.” Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985).

“[W]here the record taken as a whole could not lead a rational trier of fact to find for the


                                                 3
8:16-cv-02833-HMH          Date Filed 09/28/17      Entry Number 69       Page 4 of 14




non-moving party, disposition by summary judgment is appropriate.” Monahan v. Cty. of

Chesterfield, Va., 95 F.3d 1263, 1265 (4th Cir. 1996) (internal quotation marks and citation

omitted). “[T]he mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact.” Ballenger v. N.C. Agric. Extension Serv., 815 F.2d

1001, 1005 (4th Cir. 1987) (internal quotation marks and citation omitted).

                              B. Motion For Summary Judgment

                                     1. Breach of Contract

       Robinson Fresh moves for summary judgment on Watsonia’s breach of contract claim

arguing it has not breached the Agreement because there was never any agreement on price.

Further, Robinson Fresh alleges that Watsonia failed to complete the annual food safety audit,

which constituted a breach of a condition precedent to the contract, Robinson Fresh did not

agree to pay for the costs associated with Watsonia’s decision to plant additional acreage, and

Watsonia’s claimed damages are speculative. (Mem. Supp. Mot. Summ. J. 8-16, ECF No. 45-

1.) In response, Watsonia argues that there is a genuine issue as to whether a mutually agreed

price was reached, Robinson Fresh waived the annual food safety audit requirement by failing to

timely assert the requirement, and Watsonia’s damages calculations are reasonable. (Resp.

Opp’n Mot. Summ. J. 18-20, ECF No. 50.)




                                                4
8:16-cv-02833-HMH            Date Filed 09/28/17    Entry Number 69        Page 5 of 14




       Under Minnesota law1, the elements of a breach of contract claim are “(1) formation of a

contract, (2) performance by plaintiff of any conditions precedent to his right to demand

performance by the defendant, and (3) breach of the contract by defendant.” Lyon Fin. Servs.,

Inc. v. Ill. Paper & Copier Co., 848 N.W.2d 539, 543 (Minn. 2014) (internal quotation marks

omitted). A condition precedent

       is one which is to be performed before the agreement of the parties becomes
       operative. A condition precedent calls for the performance of some act or the
       happening of some event after the contract is entered into, and upon the
       performance or happening of which its obligation is made to depend.

Nat’l Union Fire Ins. v. Schwing Am., Inc., 446 N.W.2d 410, 412 (Minn. Ct. App. 1989)

(quoting Lake Co. v. Molan, 131 N.W.2d 734, 740 (Minn. 1964)). “When a contract contains a

condition precedent, a party to the contract does not acquire any rights under the contract unless

the condition occurs.” Id.

       Watsonia does not dispute that the Agreement sets forth a condition precedent regarding

price. (Resp. Opp’n Mot. Summ. J. 10, ECF No. 50.) The Agreement provides

       Jerrold Watson of Watsonia Farms and John Pursel of Robinson Fresh will
       establish FOB prices . . . on a daily basis in writing via email. . . . It is also
       mutually understood that a lack of mutually agreed upon pricing by both Parties
       may impact Robinson Fresh’s ability to sell their Weekly Goal Volume;
       accordingly, in this situation, Robinson Fresh shall not be held financially
       responsible for any shortfall of Weekly Goal Volume not sold.

(Mot. Summ. J. Ex. 1 (Marketing Agreement Ex. B), ECF No. 45-2.) Thus, the Agreement

required that the price for organic produce be “mutually agreed upon” by Watsonia and


       1
         The parties agree that Minnesota law governs the breach of contract action because the
marketing agreement contained a choice of law provision selecting Minnesota law as the
applicable law. See Team IA, Inc. v. Lucas, 717 S.E.2d 103, 108-09 (S.C. Ct. App. 2011)
(noting that under South Carolina choice of law principles, parties may specify the law under
which a contract will be governed).

                                                5
8:16-cv-02833-HMH           Date Filed 09/28/17      Entry Number 69       Page 6 of 14




Robinson Fresh to hold Robinson Fresh “financially responsible” for the weekly goal volumes.

(Id., ECF No. 45-2.)

         Watsonia contends that there was mutual agreement as to price based on the price quotes

offered by Jerrold Watson by telephone to John Pursel. (Resp. Opp’n Mot. Summ. J. 10-12,

ECF No. 50.) However, Jerrold Watson admitted in his deposition that John Pursel never

mutually agreed upon a price. (Mot. Summ. J. Ex. 7 (Jerrold Watson Dep. 106-07), ECF No.

45-8.) Further, John Pursel submits that “[a]t no time did [he] agree with Jerry Watson on the

pricing of the organic produce offered by him.” (Id. Ex. 6 (Pursel Aff. ¶ 13), ECF No. 45-7.)

The Agreement required price to be established “on a daily basis in writing via email.” (Id. Ex.

1 (Marketing Agreement Ex. B), ECF No. 45-2.) Watsonia alleges that John Pursel accepted the

price quote when he did not object to it by telephone. (Resp. Opp’n Mot. Summ. J. 10-12, ECF

No. 50.) “Ordinarily, mere silence does not amount to an acceptance.” Grandoe Corp. v.

Gander Mountain Co., 761 F.3d 876, 887 (8th Cir. 2014) (citing Gryc v. Lewis, 410 N.W.2d

888, 892 (Minn. Ct. App. 1987)). “More generally, an acceptance must be communicated in a

manner that is reasonable in the circumstances.” Id. (citing Minn. Stat. Ann. § 336.2-206).

          Based on the record before the court, the court finds that a price was not mutually

agreed to by Robinson Fresh and Watsonia. Watsonia never complied with the requirement set

forth in the Agreement for setting price and John Pursel’s silence is insufficient to show that he

agreed to the price. Therefore, the condition precedent in the Agreement to mutually agree upon

a price was not satisfied. Thus, the Agreement never became operative. Based on the foregoing,

the court grants Robinson Fresh’s motion for summary judgment for the breach of contract

claim.


                                                 6
8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69        Page 7 of 14




  2. Breach of Contract Accompanied by a Fraudulent Act and Violation of the SCUTPA

       Robinson Fresh contends that Watsonia’s breach of contract accompanied by a

fraudulent act and the SCUTPA claims must be dismissed because pursuant to the choice of law

provision in the Agreement, Minnesota law applies, and Minnesota law does not recognize a

cause of action for breach of contract accompanied by a fraudulent act or violation of the

SCUTPA. (Mem. Supp. Mot. Summ. J. 20-22, ECF No. 45-1.) Further, Robinson Fresh

contends that even if South Carolina law applies, Watsonia fails to allege that Robinson Fresh

committed a fraudulent act separate and distinct from the alleged breach of contract sufficient to

state a claim for breach of contract accompanied by a fraudulent act. (Id., ECF No. 45-1.)

                                        a. Choice of Law

       Robinson Fresh argues that Minnesota law applies to Watsonia’s claims for breach of

contract accompanied by a fraudulent act and violation of the SCUTPA. Paragraph 11 of the

Agreement provides that “[t]his Agreement will be governed by the laws of the State of

Minnesota.” (Mot. Summ. J. Ex. 1 (Marketing Agreement 7), ECF No. 45-2.) Choice of law

determinations are questions of law. Waterfowl Ltd. Liab. Co. v. United States, 473 F.3d 135,

141 (5th Cir. 2006); Kielar v. Granite Constr. Co., 647 F. Supp. 2d 524, 527 (D. Md. 2009)

(“Choice of law questions are generally questions of law.”) A federal court sitting in diversity

must apply the choice of law rules of the forum state. CACI Int’l, Inc. v. St. Paul Fire & Marine

Ins. Co., 566 F.3d 150, 154 (4th Cir. 2009). “Generally, under South Carolina choice of law

principles, if the parties to a contract specify the law under which the contract shall be governed,

the court will honor this choice of law.” Nucor Corp. v. Bell, 482 F. Supp. 2d 714, 728 (D.S.C.

2007) (citation omitted). Further, “absent a strong public policy reason . . . [a] choice of law


                                                 7
8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69        Page 8 of 14




provision will be honored” under South Carolina law. Russell v. Wachovia Bank, N.A., 578

S.E.2d 329, 336 (S.C. 2003).

       Watsonia contends that South Carolina law applies to the breach of contract

accompanied by a fraudulent act and the SCUTPA claim under the choice of law principles

applicable to torts. (Resp. Opp’n Mot. Summ. J. 19-21, ECF No. 50.) “An action for breach of

contract accompanied by a fraudulent act is an action ex contractu, not ex delicto; however, it

partakes of elements of both contract and tort.” Peeples v. Orkin Exterminating Co., 135 S.E.2d

845, 847 (S.C. 1964) (internal citations omitted). A claim for breach of contract accompanied

by a fraudulent act is not a separate tort-based theory of recovery that would avoid the

contractual choice of law provision. Palmetto Health Credit Union v. Open Solutions, Inc., No.

3:08-cv-3848-CMC, 2010 WL 2710551, at *5 n.8 (D.S.C. Jul. 7, 2010) (unpublished) (“Under

South Carolina law, proof of a fraudulent act accompanying a breach of contract provides a basis

for enhancing damages for breach of contract. It is not . . . a separate tort-based theory of

recovery which might survive the contractual choice-of-law provision.”). Further, the SCUPTA

claim is subject to exclusion because the choice of law provision provides that Minnesota law

governs. See PCJ Franchising Co., LLC v. Newsome, No. 7:08-CV-41-BO, 2008 WL 4772191,

at *2 (E.D.N.C. Oct. 28, 2008) (dismissing South Carolina Unfair Trade Practices Act claims on

the basis of a North Carolina choice of law provision). The Agreement at issue provides

specifically that Minnesota law applies. Therefore, Minnesota law applies unless enforcing the

choice of law provision results in a violation of the strong public policy of South Carolina.

       Watsonia does not argue that the choice of law provision violates the strong public

policy of South Carolina. Nevertheless, the issue is whether the choice of law provision violates


                                                 8
8:16-cv-02833-HMH          Date Filed 09/28/17       Entry Number 69       Page 9 of 14




any strong public policy of South Carolina, where the state law designated in the Agreement

does not recognize the theory of recovery alleged by the plaintiff.

       [U]nder the public policy exception, the Court will not apply foreign law if it
       violates the public policy of South Carolina. [F]oreign law may not be given effect
       in this State if it is against good morals or natural justice. Examples of cases
       against good morals and natural justice are prohibited marriages, wagers, lotteries,
       racing, contracts for gaming or the sale of liquors, and others. [T]he fact that the
       law of two states may differ does not necessarily imply that the law of one state
       violates the public policy of the other.

Nash v. Tindall Corp., 650 S.E.2d 81, 83-84 (S.C. Ct. App. 2007) (internal quotation marks and

citations omitted). It is not uncommon for application of the laws of one state to conflict with

another and for the conflict to result in the dismissal of a claim. See e.g., Palmetto Health, 2010

WL 2710551, at *5-6 (dismissing breach of contract accompanied by a fraudulent act and

SCUTPA claims because Connecticut, the controlling law pursuant to choice of law provision,

did not recognize this cause of action).

       There is no evidence of a strong public policy in South Carolina that would warrant

disregarding a choice of law provision because a cause of action is not available under the

chosen law. Further, the parties do not dispute that Minnesota does not recognize a cause of

action for breach of contract accompanied by a fraudulent act and a SCUTPA claim. Based on

the foregoing, the court grants Robinson Fresh’s motion for summary judgment on the breach of

contract accompanied by a fraudulent act and SCUTPA claims.2




       2
        Having found that Minnesota law applies, the court declines to address Robinson
Fresh’s remaining arguments in favor of dismissal of the breach of contract accompanied by a
fraudulent act claim and violation of the SCUTPA.

                                                 9
8:16-cv-02833-HMH         Date Filed 09/28/17        Entry Number 69       Page 10 of 14




                                 3. Negligent Misrepresentation

       Robinson Fresh moves for summary judgment on Watsonia’s negligent

misrepresentation claim arguing that if Minnesota law governs, the negligent misrepresentation

claim fails as a matter of law because Robinson Fresh did not owe a duty of care to Watsonia.

(Mem. Supp. Mot. Summ. J. 4, ECF No. 63-1.) In the alternative, Robinson Fresh argues that if

South Carolina law governs, the negligent misrepresentation claim is barred by the economic

loss doctrine. (Id. at 7, ECF No. 63-1.) Robinson Fresh asserts that Minnesota law should

govern under the choice of law provision. (Id. at 2, ECF No. 63-1.) Watsonia contends that

South Carolina law should apply because it is a tort-based claim. (Resp. Opp’n Mot. Summ. J.

7, ECF No. 66.)

       Generally, negligent misrepresentation claims are viewed as a hybrid tort and contract

claim. CitiSculpt, LLC v. Advanced Commercial Credit Int’l (ACI) Ltd., Civil Action No.:

6:17-sc-69-BHH, 2017 WL 660833, at *2 (D.S.C. Feb. 17, 2017). As noted above, “South

Carolina generally respects choice of law provisions, . . . and appears to recognize that a

contract’s choice of law provision can extend to tort claims.” Charleston Marine Containers Inc.

v. Sherwin-Williams Co., 165 F. Supp. 457, 468 (D.S.C. 2016) (internal citations omitted).

However, Watsonia alleges that the misrepresentations occurred prior to entering into the

Agreement. (Resp. Opp’n Mot. Summ. J. 2-6, ECF No. 66.) Because the alleged

misrepresentations predate the Agreement and the choice of law provision contained therein, the

court finds that South Carolina law applies to Watsonia’s negligent misrepresentation claim.

See Palmetto Health, 2010 WL 2710551, at *2 (assuming South Carolina law applies to




                                                10
8:16-cv-02833-HMH         Date Filed 09/28/17        Entry Number 69       Page 11 of 14




negligent misrepresentations predating the entry of an Agreement with a choice of law provision

designating law of another state).

       Under South Carolina law, a claim for negligent misrepresentation requires a plaintiff to

prove the following six elements:

       (1) the defendant made a false representation to the plaintiff; (2) the defendant
       had a pecuniary interest in making the statement; (3) the defendant owed a duty
       of care to see that he communicated truthful information to the plaintiff; (4) the
       defendant breached that duty by failing to exercise due care; (5) the plaintiff
       justifiably relied on the representation; and (6) the plaintiff suffered a pecuniary
       loss as the proximate result of his reliance on the representation.

Quail Hill, LLC v. County of Richland, 692 S.E.2d 499, 508 (S.C. 2010). “A duty to exercise

reasonable care in giving information exists when the defendant has a pecuniary interest in the

transaction.” Gilliland v. Elmwood Props., 391 S.E.2d 577, 580 (S.C. 1990) (quoting Winburn

v. Ins. Co. of North America, 399 S.E.2d 142, 146 (S.C. Ct. App. 1985)). “The recovery of

damages may be predicated upon a negligently made false statement where a party suffers either

injury or loss as a consequence of relying upon the misrepresentation.” Id. (quoting Winburn,

399 S.E.2d at 146).

       A negligent misrepresentation claim cannot be based on “unfulfilled promises or

statements as to future events.” Tom Hughes Marine, Inc. v. Am. Honda Motor Co., 219 F.3d

321, 324-25 (4th Cir. 2000) (internal quotations omitted). An exception to this general rule

“exists only when a person makes a promise having at the time no intention of keeping [the]

agreement.” Id. at 325 (internal quotations omitted).

       Robinson Fresh contends that Watsonia’s negligent misrepresentation claim is barred by

South Carolina’s economic loss doctrine. (Mem. Supp. Mot. Summ. J. 7-9, ECF No. 63-1.)



                                                11
8:16-cv-02833-HMH          Date Filed 09/28/17         Entry Number 69       Page 12 of 14




The theory behind the economic loss rule is that commercial entities entering into a contract

have the opportunity to allocate risk, “whereas tort risks are assigned as a matter of law.”

Myrtle Beach Pipeline Corp. v. Emerson Elec. Co., 843 F. Supp. 1027, 1049 (D.S.C. 1993),

aff’d, 46 F.3d 1125 (4th Cir. 1995). To allow a party to recover in tort what he cannot recover

in contract permits that party to obtain a better bargain than he purchased. Purvis v. Consol.

Energy Prods. Co., 674 F.2d 217, 221 (4th Cir. 1982).

       “In most instances, a negligence action will not lie when the parties are in privity of

contract. When, however, there is a special relationship between the alleged tortfeasor and the

injured party not arising in contract, the breach of that duty of care will support a tort action.”

Tommy L. Griffin Plumbing & Heating Co. v. Jordan, Jones & Goulding, Inc., 463 S.E.2d 85,

88 (S.C. 1995). “For example, South Carolina courts have permitted negligence actions to

proceed against engineers and lawyers based on their professional duties to plaintiffs.” Palmetto

Linen Service, Inc. v. U.N.X., Inc., 205 F.3d 126, 129 (4th Cir. 2000). Therefore, Watsonia

must establish a special relationship arising separately from the Agreement to support an action

for negligent misrepresentation.

       Robinson Fresh argues that Watsonia’s negligent misrepresentation claim “sound[s] in

contract, not tort.” (Mem. Supp. Mot. Summ. J. 8, ECF No. 63-1.) In support, Robinson Fresh

states that Watsonia makes the same allegations and damages claims in support of its breach of

contract claim. (Id., ECF No. 63-1.) Watsonia claims that Robinson Fresh falsely stated it had

new customers to buy produce and the previous food safety certifications were sufficient. (Resp.

Opp’n Mot. Summ. J. 2-3, ECF No. 66.) In addition, Watsonia alleges Robinson Fresh failed to

disclose that: Global Food Safety Initiative (“GFSI”) food safety certifications were necessary


                                                  12
8:16-cv-02833-HMH            Date Filed 09/28/17     Entry Number 69      Page 13 of 14




before it could sell produce, Robinson Fresh would sell to Watsonia’s existing customers, and

Robinson Fresh’s objective was to take complete control of Watsonia’s marketing and sales.

(Id. at 3-7., ECF No. 66.)

        However, there is no evidence of a special relationship between Watsonia and Robinson

Fresh independent of the Agreement. Rather, the relationship between Watsonia and Robinson

Fresh is grower of produce and marketer of produce. (Mem. Supp. Mot. Summ. J. Ex. 1

(Marketing Agreement Ex. B), ECF No. 45-2.) “A buyer-seller relationship does not constitute

a ‘special relationship . . . .’” Bahringer v. ADT Sec. Services, Inc., 942 F. Supp. 2d 585, 590

(D.S.C. 2013) (internal citation omitted). In Palmetto Linen Service, the Fourth Circuit found

no special relationship between an installer of a computerized pump system in a linen service’s

washers, and the linen service buyer. 205 F.3d at 128-29 (finding that “no special relationship

exists between Palmetto and either defendant. Palmetto points to no professional duty on the

part of defendants. Nor does Palmetto claim that defendants violated any code provision or

contravened any industry standard. Rather, as the district court observed, the relationship

between U.N.X. and Palmetto is merely one of vendor-vendee. And a mere buyer may resort

only to contractual remedies.”). Similar to Palmetto Linen Service, Watsonia fails to identify a




                                                13
8:16-cv-02833-HMH        Date Filed 09/28/17       Entry Number 69      Page 14 of 14




special relationship on the part of Robinson Fresh.3 Thus, Watsonia may only resort to

contractual remedies and the economic loss doctrine bars the negligent misrepresentation claim.4

       Based on the foregoing, the court grants Robinson Fresh’s motion for summary judgment

on negligent misrepresentation.

       It is therefore

       ORDERED that Robinson Fresh’s motions for summary judgment, docket numbers 45

and 63, are granted.

       IT IS SO ORDERED.



                                            s/Henry M. Herlong, Jr.
                                            Senior United States District Judge

 Greenville, South Carolina
 September 28, 2017




   3
    The negligent misrepresentation claim would also fail even if Minnesota law governs
   because a special relationship must be found between the parties before recovering under
   a negligent misrepresentation claim. See Smith v. Woodwind Homes, Inc., 605 N.W.2d
   418, 424-25 (Minn. Ct. App. 2000); Safeco Ins., Co. Of Am. v. Dain Bosworth, Inc., 531
   N.W.2d 867, 873 (Minn. Ct. App. 1995).

   4
    Having found that the negligent misrepresentation claim is barred by the economic loss
   doctrine, the court declines to address Robinson Fresh’s remaining arguments with
   respect to Watsonia’s negligent misrepresentation claim.

                                              14
